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                    UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,

      Plaintiff,

      v.
                                                 Civil Action No. 2:20-cv-135
FISHER SCIENTIFIC COMPANY
L.L.C., and SANDVIK, INC.

      Defendants.



                                   COMPLAINT
      Plaintiff, the United States of America, by the authority of the Attorney

General and through the undersigned attorneys, and at the request of the United
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States Environmental Protection Agency (“EPA”) files this Complaint and alleges

as follows:

                        I.      NATURE OF THE ACTION

      1.        This is a civil action under Sections 106 and 107 of the

Comprehensive Environmental Response, Compensation, and Liability Act

(“CERCLA”), as amended, 42 U.S.C. §§ 9606 and 9607, for injunctive relief and

recovery of response costs incurred by the United States in connection with the

Fair Lawn Well Field Superfund Site (“Site”) located in the Borough of Fair Lawn,

Bergen County, New Jersey.

              II.     JURISDICTION, VENUE, AND AUTHORITY

      2.        This Court has jurisdiction over this action and Defendants under

Section 113(b) of CERCLA, 42 U.S.C. § 9613(b), and under 28 U.S.C. §§ 1331

and 1345.

      3.        Venue is proper in this District under Section 113(b) of CERCLA, 42

U.S.C. § 9613(b), and 28 U.S.C. § 1391(b), because the Site is located in this

District and the releases and threatened releases of hazardous substances that gave

rise to these claims occurred in this District.

                               III.    DEFENDANTS

      4.        Defendant Fisher Scientific Company, L.L.C. (“Fisher”) is a limited

liability company formed in Delaware.


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      5.     Fisher is a “person” as defined in Section 101(21) of CERCLA, 42

U.S.C. § 9601(21).

      6.     Fisher began manufacturing operations in 1955 at its facility in Fair

Lawn, NJ, at which it formulated, distilled, packaged, and distributed laboratory

reagents and solvents.

      7.     Fisher used solvents including methylene chloride in its industrial

operations at Fair Lawn.

      8.     Defendant Sandvik, Inc. (“Sandvik”) is incorporated in Delaware.

      9.     Sandvik is a “person” as defined in Section 101(21) of CERCLA, 42

U.S.C. § 9601(21).

      10.    Sandvik began operations in 1955 at its industrial facility in Fair

Lawn, NJ, at which operations included the manufacture of cutting tools.

      11.    Sandvik used chlorinated solvents including trichloroethylene and

1,1,1-trichloroethane in its manufacturing practices at Fair Lawn.

                         IV.   LEGAL BACKGROUND

      12.    CERCLA was enacted in 1980 to provide a comprehensive

governmental mechanism for abating releases and threatened releases of hazardous

substances and other pollutants and contaminants, and for funding the costs of




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responding to releases of hazardous substances. See 42 U.S.C. §§ 9604(a),

9601(25).

        13.   Section 107(a) of CERCLA, 42 U.S.C. § 9607(a), provides in

pertinent part:

              Notwithstanding any other provision or rule of law, and subject
              only to the defenses set forth in subsection (b) of this Section –

              (1)   the owner and operator of a vessel or a facility,

              (2)   any person who at the time of disposal of any hazardous
                    substance owned or operated any facility at which such
                    hazardous substances were disposed of, [and]

              (3)   any person who by contract, agreement, or otherwise
                    arranged for disposal or treatment, or arranged with a
                    transporter for transport for disposal or treatment, of
                    hazardous substances owned or possessed by such
                    person, by any other party or entity, at any facility or
                    incineration vessel owned or operated by another party or
                    entity and containing such hazardous substances,

                                            *   *   *
                    shall be liable for –

              (A)   all costs of removal or remedial action incurred by the
                    United States Government . . . not inconsistent with the
                    National Contingency Plan;

        14.   Section 106 of CERCLA, 42 U.S.C. 9606(a) provides in pertinent

part:

              [W]hen the president determines that there may be an imminent and
              substantial endangerment to the public health or welfare or the


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               environment because of an actual or threatened release of a hazardous
               substance from a facility, he may require the Attorney General of the
               United States to secure such relief as may be necessary to abate such
               danger or threat . . . .

                       V.      GENERAL ALLEGATIONS

         15.   The Site consists of an area of contaminated surface water and

groundwater in the Borough of Fair Lawn, New Jersey in the vicinity of the

intersection of Henderson Brook and Route 208. The Site includes contaminated

overburden, upper and lower bedrock aquifers, and a portion of Henderson Brook

to which the contaminated groundwater discharges. Wells FL-10, FL-11, FL-12,

and FL-14 of the Westmoreland Well Field are impacted by the contamination.

         16.   Trichloroethylene, tetrachloroethylene, 1,1,1-trichloroethane, 1,1-

dichloroethylene, 1,2-dichloroethene, carbon tetrachloride, methylene chloride,

chloroform, and 1,4-dioxane pollute the Site and are hazardous substances as

defined by CERCLA Section 101, 42 U.S.C. § 9601.

         17.   Four source properties are being remediated under New Jersey

Department of Environmental Protection oversight: the Sandvik facility at 17-02

Nevins Road, the Fisher facility at 1 Reagent Lane, the former Eastman Kodak

facility in the vicinity of what is now Promenade Boulevard, and 18-01 Pollitt

Drive.




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        18.   The Site was placed on the Superfund National Priorities List in 1983

by publication in the Federal Register. 48 Fed. Reg. 40,658-40,673 (September 8,

1983).

        19.   The Director of the Emergency and Remedial Response Division

(now the Superfund and Emergency Management Division) of EPA Region 2,

through delegated authority, determined that there is or may be an imminent and

substantial endangerment to the public health or welfare or the environment

because of actual or threatened releases of hazardous substances into the

environment at the Site.

        20.   In September 2018, EPA released a Record of Decision setting forth

the proposed remedial action for the Site. The Fair Lawn Water Department’s

existing water treatment system will be updated to include an advanced oxidation

process and liquid-phase granular activated carbon. If necessary, one or more

additional recovery wells with treatment units may also be installed as part of the

remedy. Over time, this treatment system will reduce the contaminant levels in the

groundwater and surface water to below cleanup standards.

        21.   EPA has determined that the response actions selected in the Record

of Decision for this Site are necessary to abate the danger or threat at or from the

Site.



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                                COUNT 1
                   CERCLA Section 106 Claim Against Fisher

      22.     Plaintiff hereby incorporates by reference all other paragraphs of this

Complaint as if they were fully set forth herein.

      23.     Under Section 106(a) of CERCLA, 42 U.S.C. § 9606(a), Fisher is

jointly and severally liable for injunctive relief to abate the danger or threat

presented by a release or threatened release of hazardous substances into the

environment at or from the Site.

      24.     Under Section 106(a) of CERCLA, 42 U.S.C. § 9606(a), Fisher is

jointly and severally liable to undertake the response actions as described in the

Record of Decision.

                                COUNT 2
                   CERCLA Section 107 Claim Against Fisher
      25.     Plaintiff hereby incorporates by reference all other paragraphs of this

Complaint as if they were fully set forth herein.

      26.     Fisher is liable under Section 107(a)(2) because it owned and

operated a facility at the time hazardous substances were disposed of at the facility,

and these hazardous substances now pollute the Site.

      27.     Under Section 107(a) of CERCLA, Fisher is jointly and severally

liable for all unreimbursed costs incurred by the United States relating to the Site,

including enforcement costs and interest.


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      28.     The United States is entitled to a declaratory judgment on liability

against Fisher, pursuant to Section 113(g)(2) of CERCLA, 42 U.S.C. § 9613(g)(2),

that will be binding in any subsequent action to recover further response costs

incurred by the United States with respect to the Site.

                                COUNT 3
                  CERCLA Section 106 Claim Against Sandvik

      29.     Plaintiff hereby incorporates by reference all other paragraphs of this

Complaint as if they were fully set forth herein.

      30.     Under Section 106(a) of CERCLA, 42 U.S.C. § 9606(a), Sandvik is

jointly and severally liable for injunctive relief to abate the danger or threat

presented by a release or threatened release of hazardous substances into the

environment at or from the Site.

      31.     Under Section 106(a) of CERCLA, 42 U.S.C. § 9606(a), Sandvik is

jointly and severally liable to undertake the response actions as described in the

Record of Decision.

                                COUNT 4
                  CERCLA Section 107 Claim Against Sandvik
      32.     Plaintiff hereby incorporates by reference all other paragraphs of this

Complaint as if they were fully set forth herein.




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          33.      Sandvik is liable under Section 107(a)(2) because it owned and

operated a facility at the time hazardous substances were disposed of at the facility,

and these hazardous substances now pollute the Site.

          34.      Under Section 107(a) of CERCLA, Sandvik is jointly and severally

liable for all unreimbursed costs incurred by the United States relating to the Site,

including enforcement costs and interest.

          35.      The United States is entitled to a declaratory judgment on liability

against Sandvik, pursuant to Section 113(g)(2) of CERCLA, 42 U.S.C. §

9613(g)(2), that will be binding in any subsequent action to recover further

response costs incurred by the United States with respect to the Site.


                                         RELIEF SOUGHT

WHEREFORE, Plaintiff respectfully requests that this Court provide the following

relief:

                1. Order Defendants to abate the conditions at the Site that may present

   an imminent and substantial endangerment to the public health or welfare or

   environment, pursuant to Section 106(a) of CERCLA, 42 U.S.C. § 9606(a).

                2. Enter judgment in favor of the United States and against Defendants

   under Section 107(a) of CERCLA, 42 U.S.C. § 9607(a), for unreimbursed




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   response costs incurred by the United States relating to the Site, including

   enforcement costs and interest.

         3. Enter a declaratory judgment on Defendants’ liability that will be

   binding in any subsequent action for recovery of further response costs relating

   to the Site, under Section 113(g)(2) of CERCLA, 42 U.S.C. § 9613(g)(2);

         4. Award the United States its costs and fees in this action; and

         5. Grant the United States such further relief as this Court may deem just

   and proper.

                                          Respectfully Submitted,


                                          JEFFREY BOSSERT CLARK
                                          Assistant Attorney General
                                          Environment and Natural Resources
                                          Division
                                          U.S. Department of Justice




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Dated: January 3, 2020                 s/ Rachel Evans King
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            CERTIFICATION UNDER LOCAL CIVIL RULE 11.2

In accordance with 28 U.S.C. § 1746, I certify that the matter in controversy in the

foregoing Complaint is not the subject of any other action pending in any court, or

any pending arbitration or administrative proceeding.



                                s/ Rachel Evans King
                          .     RACHEL EVANS KING
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                             CERTIFICATE OF SERVICE


I hereby certify that on this 3rd day of January, 2020, I served the foregoing

complaint upon defendants by first-class mail. Under Paragraph 101 of the

accompanying Proposed Consent Decree and the Defendants’ respective Consent

Decree signature pages, the Defendants have agreed to accept service by mail to

their counsel:

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      McCarter & English
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                                 s/ Rachel Evans King
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